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JS 44 (Rev. 04/21)                                                               CIVIL COVER SHEET                                            3:23-cv-224-JM
The JS 44 civil cover sheet and the infonnation contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, e,cept as
provided hy local rules of court. This form, approved hy the Judicial Conference of the llnited States in Septemher 1974, is required for the use of the Clerk of Court for the
purpose of i111tiating the civil docket sheet. (.\'Fl, IN.\'JJ/111 '/f()N.\' <IN N/,.\7 /'A/;/, 01: /HI.I' NI/IA/.)
L (a) PLAINTIFFS                                                                                                DEFENDANTS
             CASEY DUNN, Individually and on behalf of G.D., a                                                 Activision Blizzard, Inc.; Infinity Ward, Inc.; Treyarch Corp.;
             Minor, and THOMAS DUNN,                                                                           Sledgehammer Games, Inc., Microsoft Corporation; et al.
      (b) County of Residence of First Listed Plaintiff              ~P~o~i~n=s=e~tt~------                     County of Residence of First I .isted De fondant                        ~L=o~s~A~n~g.,_e=le~s~-----
                                 (/,.1'1 '/:I'f/N 11.S. /'IAIN1/l·F I AS/:.\'/                                                                       (/N U.S. l'IA/Nf/l·F I 'A.\'l:S ONJ.>)
                                                                                                                NOTE:         IN Lc\'.\ID CONDEMNATION CASES. USE TIIE LOCATION                               or
                                                                                                                              THE TRACT OF LAND INVOLVED.

      ( c)   Attorneys (hrm Name. Address. and Telephone Numher)                                                 Attorneys (If K11111r11)
      Breean Walas, Tina Bullock*, Danielle Ward Mason*,
      Rachel Minder*, Leslie Pescia, 3350 Riverwood Pkwy,
      Suite 1900. Atlanta. GA 30339. (833) 296-5291
II. BASIS OF JURISDICTION (/'lace an "X" in One Box OnlJ) Ill. CITIZENSHIP OF PRINCIPAL PARTIES (/"lace an "X 'inOneB11xjorl'/aintifI
                                                                                                           (For /)irc:rsi~}' ( ·a.\'('f ( Jn~}')                                         and One Hox Ji,r /Je.fcndanl)
0     I    U.S. Government             03      Federal Question                                                                               PTF'         DEF                                                   PTF         DEF
              Plaintiff                          (ll.S. ( ion!rnmel1f Nol a /'arty)                  Citizen of This State                   [RI I       0           Incorporated or Principal Place             0 4 04
                                                                                                                                                                       of Business In This State

D 2 U.S. Govcmment                     [R} 4   Diversity                                             Citizen of Another State                D2 0 2                  Incorporated and Principal Place            0
             Defendant                          (Indicate ( 'ilizenship <?f l'arties in /Jem Ill}                                                                      of Business In Another State

                                                                                                     Citizen or Subject of a                 D 3 0 3 foreign Nation
                                                                                                       Foreign Counll)'
IV. NATURE OF SUIT (l'lacean "X" mOne BoxOnlv)                                                                                                     Click here for: Nature of Suit Code Descri tions.
              CONTRACT                                              TORTS


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      I IO Insurance                     PERSONAL INJURY               PERSONAL INJURY                   625 Dmg Related Seizure                           422 Appeal 28 USC 158                       375 False Claims Act
      120 Marine                         3 IO Airplane             [R} 365 Personal Injury -                 of Prnperty 21 liSC 881                       42-' Withdrawal                             376 Qui Tam (31 USC
      130 Miller Act                     -' 15 Airplane Product            Product Liability             690 Other                                                28 use 157                                3729(a)l
      140 Negotiable lnstmment                  Liability                0
                                                                       367 Health Care/                                                                       INTELLECTUAL                             400 State Reapportionment
0     150 Recovery of Overpayment        320 Assault, Libel &              Pharmaceutical                                                          l=,..-'P-"R...Oa..P""Ea..R_T...\_"__
                                                                                                                                                                                     RI __G
                                                                                                                                                                                          __   ___--,H 41 0 Antitrust
                                                                                                                                                                                            H_TS
           & Enforcement of Judgment           Slander                     Personal Injury                                                                                                             430 Banks and Banking
0     151 Medicare Act                   330 Federal Employers'            Product Liability                                                                                                           450 Commerce
0     152 Recovery of Defaulted                 liability                0
                                                                       368 Asbestos Personal                                                               835 Patent - Abbreviated                    460 Deportation
           Student Loans                 340 Marine                         Injury Product                                                                                                             470 Racketeer Influenced and
           (Excludes Veterans)           345 Marine Product                Liability                                                                                                                        Corrupt Organi1,ations
0     153 Recovery of Overpayment               Liability            PERSONAL PROPERTY                                                                     880 Defend Trade Secrets                    480 Consumer Credit
           ofVeteran·s Benefits          350 Motor Vehicle               O
                                                                       370 Other Fraud                                                                            Act of2016                                (15 use 1681 or 1692)
0     160 Stockholders' Suits            355 Motor Vehicle               O
                                                                       371 Tmth in Lending                                                         1----...,....,..,,-,,,,_,.,,,,,.,.._t-' 485 Telephone Consumer
0     190 Other Contract                       Product Liability         0
                                                                       380 Other Personal                                                                                                                    Protection Act
0     195 Contract Product Liability     360 Other Personal                Property Damage                   Relations                                     861 IIIA(l395fl)                            490 Cable/Sat TV
0     196 Franchise                            Injury                    0
                                                                       385 Property Damage               740 Railway labor Act                             862 Black lung (923)                        850 Securities/Corrnnoditiesl
                                         362 Personal Injury -             Product Liability             751 Family and Medical                            863 DIWC/DIWW (405(g))                            Exchange
                                               Medical Malpractice                                           Leave Act                                     864 SSID Title XVI                          890 Other Statutory Actions
1--..,....,...,R_AL.,..,,_P_R_O_P_.E_R..,T_Y
                                          _ _ _...,._C,_I.,.V_IL_R.,.l_,_H_T_S_ _-+_P_R_I_S_Ol_N_E_R_P_E_T_IT_IO_N_'_S-+~ 790 Other Labor Litigation       865 RSI (405(g))                            891 Agricultural Acts
        210 Land Condemnation                        440 Other Civil Rights             Habeas Corpus:                    791 Employee Retirement                                                      893 Environmental Matters
0 220 Foreclosure                                    441 Voting                         463 Alien Detainee                    Income Security Act       t=~~~~~~~~i~~~g~]~~;::~::J 895 Freedom of Information
§       230 Rent Lease & Ejectment
        240 Torts to Land
        245 Tort Product Liability
                                                     442 Employment
                                                     443 Housing/
                                                            Accommodations
                                                                                        510 Motions to Vacate
                                                                                             Sentence
                                                                                        530 General
                                                                                                                                                                                         Act
                                                                                                                                                                                    896 Arbitration
                                                                                                                                                                                    899 Administrative Procedure
0 290 All Other Real Property                        445 Amer. w/Disabilities -         535 Death Penalty                                                                               Act/Review or Appeal of
                                                            Employment                  Other:                                                                                          Agency Decision
                                                     446 Amer. w/Disabilities -         540 Mandamus & Other                                                                        950 Constitutionality of
                                                            Other                       550 Civil Rights                                                                                State Statutes
                                                     448 Education                      555 Prison Condition
                                                                                        560 Civil Detainee -
                                                                                             Conditions of
                                                                                             Confinement
 V. ORIG IN (/'Ince m, "X" in Une Box Un/y)
[Rl I Original                        02 Removed from                       03      Remanded from             0 4 Reinstated or 0 5 Transferred from              0 6 Multidistriet      0 8 Multidistriet
                Proceeding                   State Court                            Appellate Court                   Reopened                 Another District        Litigation -              Litigation -
                                                                                                                                               (specif>~               Transfer                  Direct File
                                           Cite the U.S. Civil Statute under which you are filing (f>o not citej11ri,diclional sta1111e., 11nle.,:> diversity):
                                           28 U.S.C. § 1332 Diversity Jurisdiction
    VI. CAUSE OF ACTION 1 - - - - - - = - - - - = - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -
                                           Brief description of cause:
                                           Products liability-Strict liability & Negligence; Outrage; Deceptive Trade Practices; Deceit'Fraud
    VII. REQUESTED IN                      0     CHECK IF THIS IS A CLASS ACTION                         DEMAND$                                                 CHECK YES only if demanded in complaint:
         COMPLAINT:                              UNDER RULE 23, F RCv P                                                                                          JURY DEMAND:                      [R}Yes        0 No
    VIII. RELATED CASE(S)
          IF ANY                               (See imtn1ctions):

    DATE
    10/30/2023
    FOR OFFICE USE ONLY

      RECEIPT#                    AMOUNT                                         APPL YING IFP                                     JUDGE                                      MAG.JUDGE
